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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA



ROBERTA. ST. GLAIR,

     Plaintiff,

V.                                        Case No. CIV-19-981-PRW


EPHRIAM EDWARDS,et al..

     Defendants.


                      JURY OUESTIONS.RESPONSES & NOTES
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